      Case 3:12-cr-04128-GPC                  Document 65          Filed 02/10/14           PageID.231        Page 1 of 4
AD 2456 (CASDRev. 08113) Judgment in a Criminal Case for Revocations
                                                                                                                 FILED
                                     UNITED STATES DISTRICT COlTR                                              FEB I 0 2014
                                           SOUTHERN DISTRICT OF CALIFORNIA
              UNITED STATES OF AMERICA                               JUDGMENT IN A C~~~~~~-;)E~

                                V.
                DESIREE DEE MURILLO (1)
                                                                        Case Number:        12CR4128-GPC

                                                                     JAMI FERRARA
                                                                     Defendant's Attorney
REGISTRATlON NO.                 37098298
0­
IZI   admitted guilt to violation of allegation(s) No.      I -3

o was found guilty in violation ofaHegation{s) No.                                                    after denial of guilty.
                                                           -------------------------
Accordingly, the court has adjudicated that the defendant is guilty of the following allegation{s):

Allegation Number                    Nature of Violation
                                     Unlawful use of a controlled substance and/or Failure to Test; VCCA (Violent Crime Control
              1,3                    Act)
               2                     Failure to report change in residence/employment.




    Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 4 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.




                                                                     HON. Gonzalo P. Curiel
                                                                     UNITED STATES DISTRICT JUDGE




                                                                                                                    I 2CR4I 28-GPC
     Case 3:12-cr-04128-GPC           Document 65         Filed 02/10/14      PageID.232        Page 2 of 4
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case for Revocations

DEFENDANT:               DESIREE DEE MURILLO (1)                                                 Judgment - Page 2 of 4
CASE NUMBER:             12CR4128-GPC

                                                IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
Time Served




D     Sentence imposed pursuant to Title 8 USC Section I 326(b).
D     The court makes the following recommendations to the Bureau of Prisons:




D     The defendant is remanded to the custody of the United States MarshaL

D     The defendant shall surrender to the United States Marshal for this district:
      D    at                         AM.                    on
           -----------------
      D as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
D
      Prisons:
      D    on or before
      D    as notified by the United States Marshal.
      D    as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:


                    -------------------------- to ----------------------------------
      Defendant delivered on

at
   ------------------------ , with a certified copy of this judgment.
                                                                  UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL



                                                                                                       12CR4128-GPC
              Case 3:12-cr-04128-GPC                  Document 65              Filed 02/10/14            PageID.233            Page 3 of 4
      AO 245B (CASD Rev. 08113) Judgment in a Criminal Case for Revocations

      DEFENDANT:                   DESIREE DEE MURILLO (1)                                                                      Judgment - Page 3 of 4
      CASE NUMBER:                 12CR4128-GPC

                                                          SllPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
24 months.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o           substance abuse. (Check, if applicable.)
IZJ         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
            Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et
o           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
            resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o           The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
      such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
      Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                          STANDARD CONDITIONS OF SUPERVISION
       I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)  the defendant shall support his or her dependents and meet other family responsibilities;
       5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
           reasons;
       6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
       7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
           any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
           unless granted permission to do so by the probation officer;
       10) the defendant shall permit a probation officer to visit him or her at any time at home or elseWhere and shall permit confiscation of any contraband
           observed in plain view of the probation officer;
       11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
       12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
           the court; and
       13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
           personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
           with such notification requirement.




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     Case 3:12-cr-04128-GPC          Document 65       Filed 02/10/14     PageID.234       Page 4 of 4
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case for Revocations

DEFENDANT:            DESIREE DEE MURILLO (1)                                               Judgment - Page 4 of 4
CASE NUMBER:          12CR4128-GPC

                                SPECIAL CONDITIONS OF SUPERVISION

     1. Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer
        at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or
        evidence of a violation of a condition of release; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to searches
        pursuant to this condition.

     2. No transport, harbor, or assist undocumented aliens.

     3. Not associate with undocumented aliens or alien smugglers.

     4. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

     5. Not possess any narcotic drug or controlled substance without a lawful medical prescription.


     6. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
        and counseling, as directed by the probation officer. Allow for reciprocal release of information
        between the probation officer and the treatment provider. May be required to contribute to the costs of
        services rendered in an amount to be determined by the probation officer, based on ability to pay.

     7. Participate in a program of mental health treatment as directed by the probation officer, take all
        medications as prescribed by a psychiatrist/physician, and not discontinue any medication without
        permission. The court authorizes the release of the presentence report and available psychological
        evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
        release of information between the probation officer and the treatment provider. May be required to
        contribute to the costs of services rendered in an amount to be determined by the probation officer,
        based on ability to pay.

     8. Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period up to 180
        days.

     9. Enroll in and complete a residential or intensive outpatient drug and alcohol treatment program at the
        direction and discretion of the probation officer.

II




                                                                                                 12CR4128-GPC
